Case 20-12993-RAM Doc 26 Filed 03/16/20 Pagelof1

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

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In re: Nanci Martinez Case No. 20-12993-RAM
Chapter 13

Debtor /

DEBTOR CERTIFICATE OF COMPLIANCE AND REQUEST
FOR CONFIRMATION OF CHAPTER 13 PLAN ,

As required under Local Rule 3015-3(B)(2), the debtor in the above captioned matter
certifies as follows:

1. Payment ofall postpetition domestic support obligations (check which paragraph applies).

X___ A. Since the filing of this bankruptcy, the debtor has not been required by a judicial
or administrative order, or by statute to pay any domestic support obligation as
defined in 11 U.S.C. §101(14A); or

___ B. The debtor has paid, either directly or to the chapter 13 trustee under the last filed
plan, all amounts that are required to be paid under a domestic support obligation and
that first became payable after the date of the filing of the petition if the debtor is
required by a judicial or administrative order, or by statute, to pay such domestic

support obligation.

2. The debtor has filed all federal, state and local tax returns required by law to be filed

under 11 U.S.C. §1308 for all taxable periods ending during the four year period ending on the date

of the filing of the petition commencing this bankruptcy case.

I declare under penalty of perjury that th€ iiformation provided in this Certificate is true and

correct.

  

 

Debtor's Signature a

Dated: 03 | ) | | 20
Joint Debtor's Signature (if applicable)

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